 

 

Case 6:17-cv-00278-.]A-KRS Document 55 Filed 01/03/18 Page 1 of 2 PagelD 977

UNlTED STATES DlSTRlCT COURT
MIDDLE DlsTRlcT oF FLoRlDA
ORLANDo DlvisloN

ABDULLAH RABBAT,
P|aintiff,
v. Case No: 6:17-cv-278-Or|-28KRS

COV|NGTON SPEC|ALTY |NSURANCE
COMPANY,

Defendant/Third-Party P|aintiff,
v.

SHER|FF OF ORANGE COUNTY,
FLOR|DA,

Third-Party Defendant.

 

ORDER

On October 25, 2017, the Sheriff of Orange County filed an Amended lViotion for
Summary Judgment (Doc. 48) on the claim brought against him by Third-Party P|aintiff
Covington Specia|ty insurance Company. The Sheriff seeks judgment in his favor on the
basis that the claim was not presented in writing to the F|orida Department of Financial
Services within three years of accrual as required by section 768.28(6), F|orida Statutes.

Covington responded on November 22, 2017. (Doc. 52). in its Response,
Covington requests discovery pursuant to Federai Rule of Civii Procedure 56(d)(1) and (2),
which provides that “[i]f a nonmovant shows by affidavit or declaration that, for specified
reasons, it cannot present facts essential to justify its oppositionl the court may: (1) defer
considering the motion or deny it; [or] (2) allow time to obtain affidavits or declarations or

to take discovery[.]” The affidavit filed with Covington’s response states that discovery

 

(`rase 6:17-cv-OO278-.]A-KRS Document 55 Filed 01/03/18 Page 2 of 2 PagelD 978

responses from P|aintiff Abduilah Rabbat were due on December 21, 2017, and that
“[d]epending on the substance of the Plaintiff’s responses to these written discovery
requests, additional discovery could be needed to address the Sherifl"s dispositive motion."
(Doc. 52-1 1111 6 & 7).

The deadline for Plaintiff’s discovery responses has now passed. lt is not clear to
the Court whether Covington still maintains that additional discovery is needed before it
can properly respond to the Sheriff’s motion. Accordingly, it is ORDERED that no later
than Wednesday, January 10, 2018, Covington shall file an amended response to the

Sherift"s Amended iViotion for Summary Judgment (Doc. 48) that either substantively

      

'4 Cf\
,"' OHN ANTOON ll

U 'ed States District Judge

Copies furnished to:

Counsei of Record

 

 

